           EXHIBIT 4




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                                            EXHIBIT 4


                Domain                      Marks Infringed    Exemplary Infringing Goods



  https://teesband98.com/limited-mij1-
  https://teesband98-com/limited-mijl-                                      TRACKER
?fbclid=IwAR2aBqXQgyl4pSf6w_ZC2t
?fbclid=IwAR2aBqXQgyl4pSf6w       ZC2t
                                              TRACKER
BagPryNBCv0ZSs7k5M3ipl0ouq7Ukwf
BagPryNBCvOZSs7k5M3ip10oug7Ukwf
                                                Marks
            ObJ_4U&s=hanes-
       5250&c=Black&p=FRONT
       52508w=Black&FRONT




    https://99teezones.shop/selver-                                               ; :
    https://99teczones.shop/selver-                                        I:7,
0010?fbclid=IwAR0m3cJfD7MsM55ihy
0010?fbclid=lwAROm3cJfD7MsM55ihy
                                              TRACKER                              -- -0,
uSivLc3OayeyZ6EiVgM6o22R5uXrV9j
uSivLc30ayeyZ6EiVgM6o22R5u3CrV9j
                                                Marks
       U07uV2CSBs&s=hanes-
       U07uV2CSB    s&s=hanes-
      5250&c=Black&p=FRONT
      5250&c=BlackerFRONT




                                                                            TRACLER
https://newdesigneprint.shop/limited-usa-
              6-1?s=hanes-
                                              TRACKER
5250&c=Black&p=FRONT&fbclid=IwA
5250&c=Black&p=FRONT&fbclid=lwA
R3fb_WtZFfKUZ85gzLGXeeKwQYKtf                   Marks
R3lb WtZFfKUZ85gzLGXecKwQYKtf
 Ike0fzoi1TMzT0KE-ACNEvBZ3QEY4
 Ike0TzoilTMzTOICE-ACNEvEZ3QEY4


    https://teesband98.com/limited-
    https://teesband.98-com/limited-                          Website
                                                              Website URL was not active as of   of
sum77?fbclid=IwAR0JReJjvZm3cMi7rI
stun77?fbclid=IwAROIReJjvZm3cMi7rI                                the time of
                                                                           of thefiling
                                                                                  filing of
                                                                                         of the
                                              TRACKER
HbJpOv7cB3EyalzYV9WsXYw6Uebed
HbJp0v7cB3EyalzYV9WsXYw6Uebed                                  complaint, but was active and
                                                Marks
       xKGzos6khiho&s=hanes-
       acKezos6lchiho&s=hanes-                                selling Infringing Goods as of
                                                              selling                         of at
      5250&c=Black&p=FRONT                                          least March 10, 2022.
                                                              Website
                                                              Website URL was not active as of   of
     https://platinumshop.store/3380-
                                                                  the time of thefiling
                                                                      lime of     filing of
                                                                                         of the
arf?fbclid=IwAR3zEdtGyzz0whjmA3o6
arilfbclid=IwAR3zEdtGyzzOwhjinA3o6            TRACKER
                                                               complaint, but was active and
7FCWvGEiews8Ttedx_jBHHSCynNCK
7FCWvGEiews8TtedxjBHHSCynNCK                    Marks
                                                              selling Infringing Goods as of
                                                              selling                         of at
                4vlPmEchkI
                4v1PmEchk1
                                                                    least March 10, 2022.




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    https://teesband98.com/limited-
    https://teesband98.comnimited-                              TRACKER
alo33?fbclid=IwAR39IYlo6bNifYQeY_
alo33?fbclid=iviAR39IY1o6bNifYQeY_
                                             TRACKER
2WE4TnxV6nrnVCRL7rdaoGYruTzgm
2WE4TnxV6nmVCRL7rdaoGYruTzgm
                                               Marks
      VIbqQ5USXSLg&s=hanes-
      VlbqQ5USXSLg&s=hanes-
      5250&c=Black&p=FRONT
      5250&c=BlackerFRONT




https://bestyprints-shop.com/untitled-13-
                                                                                ,
               7?s=gildan-                                          .,,,..te-
                                                                 TRACKER


18500&c=Dark+Heather&p=FRONT&f              SUN TRACKER
bclid=IwAR2AoML1l0BACCUyD66K4
bclid=lwAR2AoML110BACCUyD66K4                   Marks
uu26q8yikmJc4V0yZKns2bihrk3JB2hQ
uu26q8yilonJc4VOyZKns2bihrk3JB2hQ
                 DQuK0g
                 DQuKOg




   https://99shoppingpro.com/limited-                          __ ..e.a.
                                                             I macKER c
         editor-ab-47?s=ceramic-
11&c=White&p=BACK&fbclid=IwAR0
ll&c=White&BACIC&fbclid=iwARO               SUN TRACKER     )
    RzGioA6O5cQb2Dt-qvTguAqZ-
    RzGioA605cQb2Dt-qvTguAqZ-                   Marks
           EFUKkUNPqnIRUcl-
          EFUKkUNFqn1RUcl-
            CfFADzsfXN22U8c
           CffADzsfXN22U8c




  https://colours99.xyz/limited-additio-
               1024-1988-                                       Juts°,viki
                                                                      B4,,, s
?fbclid=IwAR0sOwRavKwFCS3m_XIg
?fbclid=IwAR0s0wRavKwFCS3m           XIg       MAKO
naSWRmbcM25zy3kJULormpXV9ysA3
naSWRmbcM25zy3kJULormpXV9—ysA3                 Marks
         WrIIKSkhPM&s=hanes-
         WrIIKSkhFM&s=hanes-
       5250&c=Navy&p=FRONT




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                                                                Cr)
  https://premium-tstore.com/limited-
  hrips://premitun-tstore.comilimited-                          -91"..119o ie'
soh08?fbclid=IwAR2NvchFseYdaHDN
soh08?fbclid=iwAR2NychFseYdaHl3N         TAHOE              I
            RCz6k1fzb2_Ua-
            RCz6klfzb2    Ua-             Marks
mI1W2ThbN45P69eUiAuxOQi_h0IYg
mil W2TbbN45P69eUiAux0Qi_hOTYg




  https://sailprint-shop.com/limited-
  https://sailprint-shop.comilimited-                            Cr
       edition-abc-686?s=hanes-
5250&c=Carolina%20Blue&p=FRONT
52508w=Carolina%20Blue&FRONT             TAHOE
&fbclid=IwAR3tRHvlxcbKv4D5xrkQD
&fbclid=lwAR3tRHvlxcbKv4D5xrkQD           Marks
          bcSLv-EU9z_yzHd-
     IzkLrNa9RvqsxpX5C_K1b4
     IzkLrNa9RvqsxpX5C_Klb4


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  https://dollarsmart.shop/20220314-                        \           r.
                                                                      --- (
233015?fbclid=IwAR2SoRpTZci4Opixv        RANGER
bmqJ_P93z9p849q7ycAm7LEbILjMPw
bmqJ_P93z9p849q7yeAm7LEbiLjMPw            Marks
           WlEXvgWyw3hc
           W1EXvgWyw3hc




    https://teesband98.com/limited-
    https://teesband.98.com/limited-
mij44?fbclid=IwAR3H9741CEAZGFHd
mij44?fbelid=iwAR3H97410EAZGFHd          RANGER
    hbJHXG9vzUY--cyexEHhwy-
    libMXG9vzUY--cyexElthwy-              Marks
       rUGjGZG7pQIgqcTKpe3s
       rUGjGZG7pQIgcleTICpe3s
                                                                                 I,




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                                                                         ... ,,,,

    https://sktshirtstore.com/ranger-
    https://sktshirtstore.comlranger-                            \ ik.49,t9V
  km?fbclid=IwAR3wC0ANfm6acJ9-
  lan?lbclid=IwAR3wCOANfm6acJ9-
                                           RANGER               i) ;e. .,pc
E2urtvj4jdCEj7_UmQfjRZtsKYipvFd3p
E2urtvj4jdCEj7_UniQRZtsKYipvFd3p
                                            Marks
         cuyrmneIAs&s=hanes-
       5250&c=Ash&p=FRONT
       52508cc=Ash&FRONT                                                            I
                                                                 1                  J
                                                     Website
                                                     Website URL was not active as of   of
  https://deluxe98tess.com/107-srs-
                                                         the time of
                                                                  of thefiling
                                                                         filing of
                                                                                of the
  ?fbclid=IwAR2wAQ3VgJxDqQ3-               RANGER
                                                      complaint, but was active and
LTOsyzVKDOu0StgOF5BPus8rtksjvaYf
LTOsyzVICD0u0Stg0F5BPus8rtksjvaYf           Marks
                                                     selling Infringing Goods as of
                                                     selling                         of at
             crFnmtiDq04
                                                           least March 14, 2022.


 https://better-tees.com/4-lake?s=hanes-                             ,
5250&c=Black&p=FRONT&fbclid=IwA
5250&c=Blackezp=FRONT8dbclid=IwA                                          ..___ .
                                                                         --____--
                                           RANGER
                  R3w4s5t-
                                            Marks
73Je2jDa4Qmicp92HZZ7TJOSm01Yfw
73Je2jDa4Qmicp92HZZ7TJOSmOlYfw
       hjk7u22YDPw-THM6cYbg
       hjk7u22YDPw-TITM6cYbg


                                                                         k

      https://tpublic.shop/20220314-
       101259?fbclid=IwAR22fY-                                  ))           a :
                                           RANGER
_PZaehU3_0OTBFCIZ6CFnfV3aSNtaqu
  PZaehU3 OOTBFOZ6CFnfV3aSNtaqu
                                            Marks
 ZtxjqdgMD7JQvK-JMTM3U&s=hanes-
—IkcjgdgMD7JQvK-JMTM3U&s=hanes-
       5250&c=White&p=FRONT
       52508‘c=White&FRONT
                                                                i                   j
                                                                         .   ..,

   https://trendycloothes.com/limited-
   https://trendycloothes.comilimited-
                 edition-
                                           ASCEND
                                                                 \       A 4
                                                                •lipASCEND
raj334?fbclid=IwAR24Ds1ifOvUqskSv2
raj334?fbclid=IwAR24DslifOvUgskSv2
                                            Marks
BiEkwm6Y_avOYUDlwszNJnm2KcMxi
BiEkwm6Y      avOYUD1wszNJnm2ICcMxi
             TaTinDzFbUdbk
             k7TmDzFbUdbk                                                           1
                                                                                    1




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   https://bandclothstore.com/limited-
   https://bandclothstore.comilimited-                       A ASCEND
         edition-ascend?s=hanes-
5250&c=Light%20Steel&p=FRONT&fb
5250&c=Light%20Steel&p=FRONTedb          ASCEND
          clid=IwAR2qGJk0e2-
          slid=lwAR2gGJkOe2-              Marks
       EEL7zefdsybmOXo4mZjr-
  7BnoxPvG7eAQ9sCjF0RjXNRPs_E
  7BnoxPvG7eAQ9sCjFORjXNRPs_E




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